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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

 EARL PARRIS, JR., individually,         )
 and on behalf of a Class of persons     )
 similarly situated,                     )
                                         )
         Plaintiff, and                  )    Civil Action No.
                                         )    4:21-cv-00040-TWT
 CITY OF SUMMERVILLE, GA,
                                         )
         Intervenor Plaintiff,           )
                                         )
 vs                                      )
                                         )
 3M COMPANY, et al.,                     )
                                         )
         Defendants.
                                         )


  DEFENDANT MOUNT VERNON MILLS, INC.’S CERTIFICATE OF
      SERVICE OF DISCOVERY TO INTERVENOR CITY OF
                 SUMMERVILLE, GEORGIA

      Pursuant to Local Rule 5.4 (A), the undersigned counsel hereby certifies that

on June 14, 2022, I served a copy of DEFENDANT MOUNT VERNON MILLS,

INC.’S     FIRST     INTERROGATORIES         TO     INTERVENOR         CITY    OF

SUMMERVILLE, GEORGIA; DEFENDANT MOUNT VERNON MILLS,

INC.’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO

INTERVENOR CITY OF SUMMERVILLE, GEORGIA; and DEFENDANT

MOUNT VERNON MILLS, INC.’S FIRST REQUESTS FOR ADMISSION TO
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INTERVENOR CITY OF SUMMERVILLE, GEORGIA upon all counsel of

record via electronic mail.

      This 14th day of June, 2022.


                                       /s/ William M. Droze
                                     WILLIAM M. DROZE
                                     Georgia Bar No. 231039
                                     T. MATTHEW BAILEY
                                     Georgia Bar No. 194516
                                     TROUTMAN PEPPER HAMILTON SANDERS LLP
                                     600 Peachtree Street, N.E. Suite 3000
                                     Atlanta, GA 30308
                                     william.droze@troutman.com
                                     matt.bailey@troutman.com
                                     (404) 885-3468
                                     (404) 885-2716

                                     Attorneys for Defendant
                                     Mount Vernon Mills, Inc.




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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the within and foregoing Defendant Mount Vernon

Mills, Inc.’s Certificate of Service of Discovery to Intervenor City of Summerville,

Georgia was electronically filed with the Clerk of Court using the CM/ECF system,

which automatically serves notification of such filing to all counsel of record.

        This 14th day of June, 2022.



                                              /s/ William M. Droze
                                              William M. Droze
                                              Georgia Bar No. 231039
                                              william.droze@troutman.com

                                              Attorney for Defendant
                                              Mount Vernon Mills, Inc.


TROUTMAN PEPPER HAMILTON SANDERS LLP
3000 Bank of America Plaza
600 Peachtree Street N.E.
Atlanta, GA 30308-2216
Telephone: 404-885-3000
Facsimile: 404-885-3900




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